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                                                                                                   E-FILED
                                                   Wednesday, 29 September, 2004 12:04:50 PM
                            UNITED STATES DISTRICT COURT         Clerk, U.S. District Court, ILCD
                             CENTRAL DISTRICT OF ILLINOIS
                                     Urbana Division

RAMADA FRANCHISE SYSTEMS, INC.,                   )
a Delaware corporation,                           )
                        Plaintiff,                )
      v.                                          )           Case No. 03-2079
                                                  )
DAVID H. CLEMMONS, an individual,                 )
                                                  )
                               Defendant.         )

                                             ORDER

       IT IS ORDERED HEREIN AS FOLLOWS:

       1. That this matter be, and hereby is, scheduled for a final pretrial conference by
personal appearance before the undersigned on October 29, 2004, at 2:30 p.m. in
Courtroom C, U.S. Courthouse, 201 South Vine Street, Urbana, Illinois.

       2. Counsel who will actually try the case shall appear. CDIL-LR 16.1(E)(3).

       3. Prior to the date for final pretrial conference, the parties shall confer and shall prepare
a proposed final pretrial order for presentation to the Court at the conference. CDIL-LR
16.1(E)(4).

       4. The proposed final pretrial order prepared in conformity with the sample contained in
Local Rules Appendix I shall contain the following:

       a.      A statement of the case including the facts showing the basis for
               jurisdiction. CDIL-LR 16.1(F)(1).

       b.      A signed stipulation of uncontested material facts. CDIL-LR 16.1(F)(2).

       c.      A joint statement of uncontested issues of law. CDIL-LR 16.1(F)(3).

       d.      A joint statement of all contested material facts and issues of law. CDIL-
               LR 16.1(F)(4).

       e.      Stipulations regarding the use of depositions and the presentation of expert
               testimony. CDIL-LR 16.1(F)(5).

       f.      A list of all witnesses each party intends to call at trial. CDIL-LR
               16.1(F)(6).

       g.      A list of exhibits each part intends to offer or use at trial. CDIL-LR
               16.1(F)(7).
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            h.           A list of demonstrative aids intended for use at trial. CDIL-LR 16.1(F)(8).

            5. The final pretrial order shall be prepared by Plaintiff’s counsel. CDIL-LR 16.1(F).

       6. Plaintiff’s counsel shall submit the final pretrial order to opposing counsel at least
seven days prior to the final pretrial conference. CDIL-LR 16.1(F).

            7. At the pretrial conference, the parties shall be prepared to discuss the following:

            a.           The simplification of the issues for trial. CDIL-LR 16.1(E)(5)(a).

            b.           Any problems of evidence. CDIL-LR 16.1(E)(5)(b).

            c.           The possible limitation of the number of expert witnesses. CDIL-LR
                         16.1(E)(5)(c).

            d.           The desirability and timing of trial briefs. CDIL-LR 16.1(E)(5)(d).

            e.           Any settlement possibilities. CDIL-LR 16.1(E)(5)(e).

            f.           Matters which will facilitate speedy disposition of the action. CDIL-LR
                         16.1(E)(5)(f).

            g.           Short notice (fast track) possibilities. CDIL-LR 16.1(E)(5)(g).

        8. If the case will be tried to a jury, the parties shall submit an agreed set of jury
instructions. Instructions upon which the parties are unable to agree shall be submitted
separately by the parties. Each instruction shall be tendered in compliance with Local Rule
16.1(E)(6). CDIL-LR 16.1(E)(6).

        9. If the case will be a bench trial, the parties shall submit an agreed set of findings of
fact and conclusions of law. Findings and conclusions upon which the parties are unable to
agree should be submitted separately by the parties. CDIL-LR 16.1(E)(8).

       10. The parties shall be prepared to report whether settlement is possible. CDIL-LR
16.1(E)(2).

      11. The parties should be prepared to make stipulation and agreements as appropriate.
CDIL-LR 16.1(E)(3).

            ENTER this 28th day of September, 2004.

                                                                      s/ DAVID G. BERNTHAL
                                                                     U.S. MAGISTRATE JUDGE
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